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                                      March 27, 2019
VIA ECF
The Honorable Eric C. Tostrud
United States District Court
334 Federal Building
316 N. Robert Street
St. Paul, MN 55101

       Re:    Penrod, et al., v. K&N Engineering, Inc.,
              Civil Action No. 0:18-cv-2907-ECT-LIB

Dear Judge Tostrud:

        Plaintiffs John Penrod, Gus Erpenbach, and Juan Welsh respectfully submit the
enclosed supplemental authority, Hartley v. Sig Sauer, Inc., No. 4:18-cv-00267-HFS,
ECF No. 41 (W.D. Mo. Mar. 25, 2019) (attached hereto as Exhibit A) for the Court’s
consideration with regard to Defendant K&N Engineering, Inc.’s motion to dismiss. The
Hartley opinion is relevant to the jurisdictional arguments Defendant raises on pages 15-
18 of its motion to dismiss, and the arguments Plaintiffs raise on pages 12-14 of their
opposition brief.

        Plaintiffs filed their opposition brief on March 5, 2019. Had the decision been
published prior to March 5, 2019, Plaintiffs would have included it in their opposition
brief. Plaintiffs will be relying on the above supplemental authority at the hearing on
Defendant’s Motion to Dismiss, scheduled for April 1, 2019.


                                               Sincerely,
                                               GUSTAFSON GLUEK PLLC
                                               s/ Catherine K. Smith
                                                  Catherine K. Smith
CKS/jlh
Enclosure
cc:   All Counsel of Record (via ECF)
